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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CHICAGO & VICINITY LABORERS’                       )
DISTRICT COUNCIL PENSION FUND,                     )
CHICAGO & VICINITY LABORERS’                       )
DISTRICT COUNCIL WELFARE FUND,                     )
CHICAGO & VICINITY LABORERS’                       )
DISTRICT COUNCIL RETIREE HEALTH                    )
AND WELFARE FUND, and CATHERINE                    )       Case No. 21 C 3771
WENSKUS, not individually but as                   )
Administrator of the Funds,                        )
                                                   )
                             Plaintiffs,           )
       v.                                          )
                                                   )
AVERY & PRYOR CONSTRUCTION LLC,                    )
                                                   )
                             Defendant.            )


                                           COMPLAINT

       Plaintiffs, Chicago & Vicinity Laborers’ District Council Pension Fund, Chicago &

Vicinity Laborers’ District Council Health & Welfare Fund, Chicago & Vicinity Laborers’

District Council Retiree Health & Welfare Fund, and Catherine Wenskus, not individually but as

Administrator of the Chicago Funds, (collectively the “Chicago Funds”), by their attorneys

Patrick T. Wallace, Amy Carollo, G. Ryan Liska, Katherine C.V. Mosenson and Sara S.

Schumann, and for their Complaint against Avery & Pryor Construction LLC, state:



                                          COUNT I
                            (Failure to Pay Benefit Contributions)


       1.     Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(1) and



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(2) and 1145, Section 301(a) of the Labor Management Relations Act (“LMRA”) of 1947 as

amended, 29 U.S.C. §185(a), 28 U.S.C. §1331, and federal common law.

       2.      Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2),

and 28 U.S.C. §1391 (a) and (b).

       3.      The Chicago Funds are multiemployer benefit plans within the meanings of

Sections 3(3) and 3(37) of ERISA. 29 U.S.C. §1002(3) and 37(A). They are established and

maintained pursuant to their respective Agreements and Declarations of Trust in accordance with

Section 302(c)(5) of the LMRA. 29 U.S.C. § 186(c)(5). The Funds have offices and conduct

business within this District.

       4.      Plaintiff Catherine Wenskus (“Wenskus”) is the Administrator of the Chicago

Funds, and has been duly authorized by the Chicago Funds’ Trustees to act on behalf of the

Chicago Funds in the collection of employer contributions owed to the Chicago Funds and to the

Construction and General District Council of Chicago and Vicinity Training Fund, and with

respect to the collection by the Chicago Funds of amounts which have been or are required to be

withheld from the wages of employees in payment of Union dues for transmittal to the

Construction and General Laborers’ District Council of Chicago and Vicinity (the “Union”).

With respect to such matters, Wenskus is a fiduciary of the Chicago Funds within the meaning of

Section 3(21)(A) of ERISA, 29 U.S.C. §1002(21)(A).

       5.      Defendant Avery & Pryor Construction LLC, (hereinafter “Avery & Pryor” or

“Company”), does business within this District and was at all times relevant herein an employer

within the meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5), and Section 301(a) of the

LMRA, 29 U.S.C. §185(c).




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       6.      The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The

Union and Avery & Pryor have been parties to a series of collective bargaining agreement, the

most recent of which became effective June 1, 2017 (“Agreement”). (A copy of the “short form”

Agreement entered into between the Union and the Company which Agreement adopts and

incorporates Master Agreements between the Union and various employer associations, and also

binds Company to the Laborers’ Funds respective Agreements and Declarations of Trust is

attached hereto as Exhibit A.)

       7.      The Funds have been duly authorized by the Construction and General Laborers’

District Council of Chicago and Vicinity Training Fund (the “Training Fund”), the Chicagoland

Construction Safety Council (the “Safety Fund”), the Laborers’ Employers’ Cooperation and

Education Trust (“LECET”), the Industry Advancement Fund (the “IAF”), the CDCNI/CAWCC

Contractors’ Industry Advancement Fund (the “Wall & Ceiling Fund”), the CISCO Uniform

Drug/Alcohol Abuse Program (“CISCO”), the Laborers’ District Council Labor Management

Committee Cooperative (“LDCLMCC”), the CARCO Industry Advancement Fund (“CARCO”),

the Underground Contractors Association (“UCA”), and the Chicago Area Independent

Construction Association (“CAICA”) to act as an agent in the collection of contributions due to

those funds.

       8.      The Agreement and the Funds’ respective Agreements and Declarations of Trust

obligate AVERY & Pryor to make contributions on behalf of its employees covered by the

Agreement, and to submit monthly remittance reports in which Avery & Pryor, inter alia,

identifies the employees covered under the Agreements and the amount of contributions to be

remitted to the Funds on behalf of each covered employee. Pursuant to the terms of the




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Agreement, and the Funds’ respective Agreements and Declarations of Trust, contributions

which are not submitted in a timely fashion are assessed liquidated damages plus interest.

       9.      The Agreement and the Funds’ respective Agreements and Declarations of Trust

require Avery & Pryor to submit the books and records to the Funds on demand for an audit to

determine benefit contribution compliance.

       10.     The Agreement requires Avery & Pryor to obtain and maintain a surety bond to

guaranty the payment of future wages, pension and welfare benefits.

       11.     Notwithstanding the obligations imposed by the Agreement and the Funds’

respective Agreements and Declarations of Trust, Avery & Pryor has:

       a.      failed to submit reports and/or pay all contributions to Plaintiff Pension Fund for

April 2021 forward, thereby depriving the Laborers’ Pension Fund of contributions, income and

information needed to administer the Fund and jeopardizing the pension benefits of the

participants and beneficiaries;

       b.      failed to submit reports and/or pay all contributions to Plaintiff Welfare Fund for

April 2021 forward, thereby depriving the Welfare Fund of contributions, income and

information needed to administer the Fund and jeopardizing the health and welfare benefits of

the participants and beneficiaries;

       c.      failed to submit reports and/or pay all contributions to Retiree Welfare Fund for

April 2021 forward, thereby depriving the Retiree Welfare Fund of contributions, income and

information needed to administer the Fund and jeopardizing the health and welfare benefits of

the participants and beneficiaries;

       d.      failed to submit reports and/or pay all contributions to Laborers’ Training Fund

for April 2021 forward, thereby depriving the Laborers’ Training Fund of contributions, income



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and information needed to administer the Fund and jeopardizing the training fund benefits of the

participants and beneficiaries;

       e.      failed to submit reports and/or pay all contributions owed to one or more of the

other affiliated funds identified in Paragraph 7 above for April 2021 forward, thereby depriving

said fund(s) of contributions, income and information needed to administer said fund(s) and

jeopardizing the benefits of the participants and beneficiaries; and

       f.      failed to obtain and maintain a surety bond.

       12.     Avery & Pryor’s actions in failing to submit timely reports and contributions and

obtain a surety bond violate Section 515 of ERISA, 29 U.S.C. §1145 and Section 301 of the

LMRA, 29 U.S.C. §185.

       13.     Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of

the LMRA, 29 U.S.C. §185, federal common law, and the terms of the Agreement and the

Funds’ respective Trust Agreements, Avery & Pryor is liable to the Funds for unpaid

contributions, as well as interest and liquidated damages on the unpaid contributions,

accumulated liquidated damages, audit costs, reasonable attorneys’ fees and costs, a surety bond,

and such other legal and equitable relief as the Court deems appropriate.

       WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against

Defendant Avery & Pryor Construction LLC as follows:

       a.      ordering Avery & Pryor to submit benefit reports and pay all contributions for

April 2021 forward and to submit to an audit upon demand;

       b.      entering judgment in sum certain against Defendant Avery & Pryor on the

amounts due and owing as pled in the Complaint, and pursuant to the amounts revealed as owing

pursuant to the April 2021 forward reports, and audit, if any, including contributions, interest,



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liquidated damages, bond payments, audit costs, and attorneys’ fees and costs;

       c.      ordering the Company to obtain and maintain a surety bond; and

       d.      awarding Plaintiffs any further legal and equitable relief as the Court deems just

and appropriate.



                                           COUNT II
                                  (Failure to Pay Union Dues)


       14.     Plaintiffs reallege paragraphs 1 through 13 as though fully set forth herein.

       15.     Pursuant to agreement, the Funds have been duly designated to serve as collection

agents for the Union in that the Funds have been given the authority to collect from employers

union dues which have been or should have been deducted from the wages of covered

employees.

       16.     Dues reports and dues contributions are due by the 10 th day following the month in

which the work was performed. Dues reports and dues contributions which are not submitted in a

timely fashion are assessed liquidated damages.

       17.     Notwithstanding the obligations imposed by the Agreement and the Funds’

respective Agreements and Declarations of Trust, the Company failed to submit Union dues

reports and dues that were or should have been withheld from the wages of its employees

performing covered work for the period of December 2020 forward, thereby depriving the Union

of income and information necessary to determine dues submission compliance.

       18.     Pursuant to the Agreement and Federal Common Law, Avery & Pryor is liable to

the Funds for the unpaid Union dues, as well as liquidated damages, accumulated liquidated

damages, audit costs, reasonable attorneys’ fees and costs as the Union’s collection agent, and



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such other legal and equitable relief as the Court deems appropriate.

       WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against

Defendant Avery & Pryor Construction LLC as follows:

       a.      ordering Avery & Pryor to submit dues reports and pay all dues for the time

period of December 2020 forward;

       b.      ordering Avery & Pryor to submit its books and records to an audit upon demand

to determine dues contributions compliance;

       c.      entering judgment in sum certain against Avery & Pryor on the amounts due and

owing pursuant to the December 2020 forward dues reports, and on any amounts found due and

owing pursuant to the audit, including dues, interest, liquidated damages, accumulated liquidated

damages, and attorneys’ fees and costs; and

       d.      awarding Plaintiffs any further legal and equitable relief as the Court deems just

and appropriate.



                                        COUNT III
    (Failure to Pay Benefit Contributions Revealed as Delinquent Pursuant to an Audit)


       19.     Plaintiffs reallege paragraphs 1 through 18 as though fully set forth herein.

       20.     An audit of Avery & Pryor’s books January 1, 2018 through November 30, 2020,

revealed that the Company performed covered work during the audit period, but that

notwithstanding the obligations imposed by the Agreement, and the Funds’ respective

Agreements and Declarations of Trust, Avery & Pryor:

       a.      failed to report and pay contributions in the amount of $0.16 owed to CAICA for

               the period of January 1, 2018 through November 30, 2020, thereby depriving the



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               CAICA of contributions, income and information needed to administer the Fund

               and jeopardizing the health and welfare benefits of the participants and

               beneficiaries;

       b.      failed to report and pay contributions in the amount of $0.34 owed to Laborers’

               District Council Labor Management Committee Cooperative (“LMCC”) for the

               audit period of January 1, 2018 through November 30, 2020, thereby depriving

               the LMCC of contributions, income and information needed to administer the

               Fund and jeopardizing the benefits of the participants and beneficiaries;

       c.      failed to report and pay contributions in the amount of $0.14 owed to Laborers’

               Employers’ Cooperation and Education Trust (“LECET”) for the audit of January

               1, 2018 through November 30, 2020, thereby depriving the LECET of

               contributions, income and information needed to administer the Fund and

               jeopardizing the benefits of the participants and beneficiaries.

A true and accurate copy of the audit and Summary of Amounts Owed are attached hereto as

Exhibits B and C, respectively.

       21.     Under the terms of the Agreement and the Funds’ respective Agreements and

Declarations of Trust, the Company is liable for the costs of any audit which reveals unpaid

contributions. Accordingly, the Company owes the Funds $1,312.50 in audit costs for the audit

for the period of January 1, 2018 through November 30, 2020.

       22.     The Company’s actions in failing to submit payment upon the audit to which it

submitted its books and records violate Section 515 of ERISA, 29 U.S.C. §1145.

       23.     Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of

the LMRA, 29 U.S.C. §185, the terms of the Agreement, and the Funds’ respective Trust



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Agreements, the Company is liable to the Funds for unpaid contributions, as well as interest and

liquidated damages on the unpaid contributions, accumulated liquidated damages, audit costs,

and reasonable attorneys’ fees and costs, and such other legal and equitable relief as the Court

deems appropriate.

       WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against

Defendant Avery & Pryor:

       a.        entering judgment in sum certain in favor of the Funds and against Avery & Pryor

on the amounts due and owing pursuant to the audit for the period of January 1, 2018 through

November 30, 2020, including contributions, interest, liquidated damages, audit costs, and

Plaintiffs’ reasonable attorneys’ fees and costs; and

       b.        awarding Plaintiffs any further legal and equitable relief as the Court deems

appropriate.



                                             COUNT IV
            (Failure to Pay Union Dues Revealed as Delinquent Pursuant to an Audit)


       24.       Plaintiffs reallege paragraphs 1 through 30 as though fully set forth herein.

       25.       Pursuant to agreement, the Funds have been duly designated to serve as collection

agents for the Union in that the Funds have been given the authority to collect from employers

union dues which have been or should have been deducted from the wages of covered

employees.

       26.       Notwithstanding the obligations imposed by the Agreement, Avery & Pryor

performed covered work during the audit period of January 1, 2018 through November 30, 2020,

and the Company failed to withhold and/or submit payment of $16.69 in union dues that were or



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should have been withheld from the wages of employees for the period of January 1, 2018 through

November 30, 2020, thereby depriving the Union of information and income. See Exhibit B.

       27.      Pursuant to the Agreement, the Company owes liquidated damages on all late or

unpaid dues as revealed by the audit for the period of January 1, 2018 through November 30, 2020,

plus audit costs, interest, liquidated damages, and reasonable attorneys’ fees and costs as the

Union’s collection agent, and such other legal and equitable relief as the Court deems appropriate.

       WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against

Defendant Avery & Pryor Construction LLC:

       a.       entering judgment in sum certain in favor of the Funds and against the Company

on the amounts due and owing pursuant to the audit for the period of January 1, 2018 through

November 30, 2020, including dues, liquidated damages, audit costs, and Plaintiffs’ reasonable

attorneys’ fees and costs; and

       b.       awarding Plaintiffs any further legal and equitable relief as the Court deems

appropriate.




July 15, 2021                                         Laborers’ Pension Fund, et al.

                                                      By: /s/ Amy Carollo
                                                              Amy Carollo
Amy Carollo
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                                                                Exhibit A
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                                                           Exhibit B
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                                                                              Exhibit C
